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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 NORTHERN DIVISION




UNITED STATES OF AMERICA,

                        Plaintiff,                     Case No. 2:06-cr-32-07

v.                                                     HON. ROBERT HOLMES BELL

MARK ALLEN KELLER, JR.,

                  Defendant.
____________________________________/


                             REPORT AND RECOMMENDATION

                 Pursuant to W.D. MICH . L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on April 23, 2007, after receiving the written consent of defendant and all counsel. At the

hearing, defendant MARK ALLEN KELLER, JR. entered a plea of guilty to Count 2 of the

Indictment, charging defendant with Distribution of a Controlled Substance - Cocaine Base, in

violation of 21:841(a) and 841(b)(1)(C), in exchange for the undertakings made by the government

in the written plea agreement. On the basis of the record made at the hearing, I find that defendant

is fully capable and competent to enter an informed plea; that the plea is made knowingly and with

full understanding of each of the rights waived by defendant; that it is made voluntarily and free from

any force, threats, or promises, apart from the promises in the plea agreement; that the defendant

understands the nature of the charge and penalties provided by law; and that the plea has a sufficient

basis in fact.
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                I therefore recommend that defendant's plea of guilty to Count 2 of the Indictment be

accepted, that the court adjudicate defendant guilty, and that the written plea agreement be

considered for acceptance at the time of sentencing. It is further recommended that defendant

remain detained pending sentencing. Acceptance of the plea, adjudication of guilt, acceptance of

the plea agreement, determination of defendant's status pending sentencing, and imposition of

sentence are specifically reserved for the district judge. The clerk is directed to procure a transcript

of the plea hearing for review by the District Judge.



Date: April 23, 2007                                     /s/ Timothy P. Greeley
                                                        TIMOTHY P. GREELEY
                                                        United States Magistrate Judge



                                      NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH . L.CR.R. 11.1(d).




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